              Case 16-18467-jkf                   Doc 115            Filed 07/20/18 Entered 07/20/18 14:12:23                              Desc Main
                                                                     Document      Page 1 of 2
 Fill in this information to identify your case:

 Debtor 1                MaryAnne Applegate
                         First Name                         Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF PENNSYLVANIA

 Case number           16-18467
 (if known)
                                                                                                                                          Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      Household goods and furnishings -                               $8,625.00                                  $8,625.00     11 U.S.C. § 522(d)(3)
      no single item worth more than
      $600.00 - owned jointly with husband                                                 100% of fair market value, up to
      Line from Schedule A/B: 6.1                                                          any applicable statutory limit

      Misc. household electronics - no                                $2,000.00                                  $2,000.00     11 U.S.C. § 522(d)(3)
      single item worth more than $600.00
      - owned jointly with husband                                                         100% of fair market value, up to
      Line from Schedule A/B: 7.1                                                          any applicable statutory limit

      1 Bicycle                                                           $25.00                                    $25.00     11 U.S.C. § 522(d)(5)
      Line from Schedule A/B: 9.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      1 Kayak                                                             $25.00                                    $25.00     11 U.S.C. § 522(d)(5)
      Line from Schedule A/B: 9.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Piano - owned jointly with husband -                            $1,250.00                                  $1,250.00     11 U.S.C. § 522(d)(5)
      total value $2,500.00
      Line from Schedule A/B: 9.3                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
            Case 16-18467-jkf                     Doc 115            Filed 07/20/18 Entered 07/20/18 14:12:23                                 Desc Main
                                                                     Document      Page 2 of 2
 Debtor 1    MaryAnne Applegate                                                                          Case number (if known)     16-18467
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     1 Glock handgun                                                     $250.00                                   $250.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 10.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Misc. clothing - no single item worth                            $1,000.00                                  $1,000.00        11 U.S.C. § 522(d)(3)
     more than $600.00
     Line from Schedule A/B: 11.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Diamond wedding band                                             $1,000.00                                  $1,000.00        11 U.S.C. § 522(d)(4)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Misc. costume jewelry                                               $100.00                                   $100.00        11 U.S.C. § 522(d)(4)
     Line from Schedule A/B: 12.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Horse - owned jointly with debtor's                              $5,000.00                                  $5,000.00        11 U.S.C. § 522(d)(5)
     husband and debtor's son - total
     value $15,000.00                                                                      100% of fair market value, up to
     Line from Schedule A/B: 13.1                                                          any applicable statutory limit

     Cash                                                                 $30.00                                    $30.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     DIP checking account: TD Bank                                    $2,284.20                                    $903.00        11 U.S.C. § 522(d)(5)
     #4835
     Line from Schedule A/B: 17.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Aflac, Inc. - 57.0976 shares                                     $5,517.00                                  $5,517.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 18.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Applegate Wood Floors, Inc.                                         $100.00                                   $100.00        11 U.S.C. § 522(d)(5)
     50 % ownership
     Line from Schedule A/B: 19.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Phoenix Life Insurance Company                                   $2,085.98                                  $2,085.98        11 U.S.C. § 522(d)(8)
     policy
     Beneficiary: MaryAnne Applegate                                                       100% of fair market value, up to
     Line from Schedule A/B: 31.1                                                          any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
